829 F.2d 36Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Fred MABERY, Plaintiff-Appellant,v.James MARTIN, FRANK NUZUM, Aaron Johnson, Pat Seavouras,Defendants-Appellees.
    No. 87-7070
    United States Court of Appeals, Fourth Circuit.
    Submitted May 29, 1987.Decided September 9, 1987.
    
      Fred Mabery, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Office of the Attorney General of North Carolina, for appellees.
      Before CHAPMAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Mabery v. Martin, C/A No. 86-341-CRT (E.D.N.C., Mar. 2, 1987).
    
    
      2
      AFFIRMED.
    
    